Case 4:24-cv-00411-JDR-MTS Document 1-1 Filed in USDC ND/OK on 09/03/24 Page 1 of 2

August/2024

United States District Clerk’s Office

Mark McCartt, Clerk

Page Belcher Federal Bldg. and US Courthouse,
333 W 4" St, Rm #411

Tulsa, Oklahoma. 74103.

Dear: Court Clerk I’m currently filing my pro-se title 42 USC §1983 law suit /
complaint. Can you please file my §1983 complaint with your court house.

Also, I’m sending $350-0@to file my complaint along with my $5.00 filing fee.
YES, a6

(P.S.) Please mail me back a stamp file copy of my complaint. I have enclosed a

self-address stamp envelope. Send back to me at the following name and address:

Ryan K. Smith
D.O.C.#643298
Lexington Correctional Center
P.O. Box 260
Lexington, Oklahoma.73051
Case 4:24-cv-00411-JDR-MTS Document 1-1 Filed in USDC ND/OK on 09/03/24 Page 2 of 2

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United States District Clerk’s Office

Mark McCartt, Clerk

Page Belcher Federal Bldg. and US Courthouse,
333 W 4" St, Rm #411

Tulsa, Oklahoma. 74103.

Dear: Court Clerk I have currently filed my pro-se §1983 law suit / complaint. I’m
now sending your office the summon to be file upon the defendant in my case. Can you

please affix the seal of the court and serve the said defendant for me and / or mail back

the summon with the affixed seal of the court to me so that I can serve the said defendant
by certified mail.

Please get back with me at the following name and address:

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